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     Federal Defender
2    MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JEREMIAH URCH
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. 2:07-cr-00036-MCE
                                        )
12                   Plaintiff,         )
                                        )   STIPULATION AND ORDER
13        v.                            )   CONTINUING STATUS CONFERENCE
                                        )
14   ANDREA WEATHINGTON; and            )   Date: July 24, 2008
     JEREMIAH URCH,                     )   Time: 9:00 a.m.
15                                      )   Judge: Hon. Morrison C. England,
                                        )          Jr.
16                                      )
                    Defendants.
17   _______________________________
18        IT IS HEREBY STIPULATED by and between the parties hereto through
19   their respective counsel, ROBIN TAYLOR, Assistant United States
20   Attorney, attorney for Plaintiff; ROBERT HOLLEY, attorney for defendant
21   Andrea Weathington; and MARY M. FRENCH, Supervising Assistant Federal
22   Defender, attorney for defendant Jeremiah Urch, that the current Status
23   Conference date of June 12, 2008, be vacated and a new date of July 24,
24   2008, be set for status/change of plea.
25        Defense counsel for defendant Jeremiah Urch is newly assigned to
26   this case, and needs additional time to review the case and discovery,
27   and to meet with her client.     In addition, investigation is ongoing and
28   defense counsel are working towards a resolution of the matter, and
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1    need time to discuss possible disposition with the defendants.
2          It is further stipulated and agreed between the parties that the
3    period between June 12, 2008, and July 24, 2008, should be excluded in
4    computing the time within which the trial of the above criminal
5    prosecution must commence for purposes of the Speedy Trial Act for
6    defense preparation.       All parties stipulate and agree that this is an
7    appropriate exclusion of time within the meaning of Title 18, United
8    States Code, Section 3161(h)(8)(iv) (Local Code T4).
9    Dated: June 10, 2008                Respectfully submitted,
10                                             DANIEL J. BRODERICK
                                               Federal Defender
11
                                                    /s/ Mary M. French
12                                             MARY M. FRENCH
                                               Supervising Assistant
13                                             Federal Defender
                                               Attorney for Defendant
14                                             JEREMIAH URCH
15   Dated:    June 10, 2008                   /s/Mary M. French for Robert Holley
                                               ROBERT HOLLEY
16                                             Attorney for Defendant
                                               ANDREA WEATHINGTON
17
18                                             MCGREGOR W. SCOTT
                                               United States Attorney
19
     Dated:    June 10, 2008
20                                             /s/ Mary M. French for Robin Taylor
                                               ROBIN TAYLOR
21                                             Assistant U.S. Attorney
22                                           ORDER
23   IT IS SO ORDERED.
24
      Dated: June 11, 2008
25
26                                           _____________________________
                                             MORRISON C. ENGLAND, JR.
27
                                             UNITED STATES DISTRICT JUDGE
28


     Stipulation & Order                       2
